                      Case 8-18-72034-las        Doc 16    Filed 05/17/18      Entered 05/17/18 16:04:02
                                                             Law Offices Of


                                               COHN & ROTH, LLC
                                100 E. OLD COUNTRY ROAD MINEOLA, NEW YORK 11501
                                                (516) 747-3030 F FAX (516) 747-3046

MICHAEL H. COHN
WILLIAM M. ROTH
-----------------------------
MICHAEL C. NAYAR
EDWARD C. KLEIN
KEVIN MACTIERNAN
LOUIS GRECO
JOSHUA KURZ


           May 17, 2018


           Peter Corey, Esq.
           Counsel for the Debtor
           Richard L. Stern, P.C.
           2950 Express Drive South, Suite 109
           Islandia, NY 11749

                                       Debtor: Robert M. George
                                       Case No.: 18-72034-las
                                       Loan No.: ending x3943

           Dear Mr. Corey:

           This firm represents The Bank of New York Mellon, as Trustee for CIT Mortgage Loan Trust
           2007-1 c/o Caliber Home Loans, Inc. (hereinafter “Caliber”), a secured creditor in connection
           with the above-referenced loss mitigation matter.

           Pursuant to the Loss Mitigation Order, entered on 04/20/2018 (ECF Doc No 14), please be
           advised that you may contact myself, Carrie Altenburg, Paralegal at Cohn & Roth, LLC, at the
           above telephone number or by email at caltenburg@cohnroth.com, as I will be your main contact
           for this file.

           In order to facilitate the request for Loss Mitigation, the following financial documentation is
           needed and should be forwarded via email to caltenburg@cohnroth.com:

                         A.     Hardship Letter, signed and dated;

                         B.     Paystubs – Two continuous months of the most recent pay stubs showing
                                year-to-date income and withholding, or provide a letter from your employer
                                containing the same information;

                         C.     Bank Statements – Three months of current bank statements, including all pages,
                                even if blank;

                         D.     Profit and Loss Statement – If you are self-employed or have your own business,
                                you must submit a year-to-date profit and loss statement showing the monthly
                                income and expenses for each business and for each borrower that has their own
                                business;
      Case 8-18-72034-las       Doc 16      Filed 05/17/18      Entered 05/17/18 16:04:02




Page 2
May 17, 2018


       E.      Award Letter – If your income includes social security, disability, unemployment
               benefits or pension payments, you must provide a copy of your reward letter
               showing such payments will remain continuous and proof that the payments are
               deposited regularly into your bank account;

       F.      Rental Income – Copy of your lease agreement or letter from tenant stating how
               much rent is paid to the borrower and the terms of the lease, together with proof
               the amount of rent received is deposited into the borrower’s bank account
               regularly;

       G.      Contribution toward Mortgage from an Adult residing in the Home – Letter from
               each contributing adult stating the amount of money contributed monthly and
               proof that this amount is deposited regularly into the borrower’s bank account;

       H.    Federal Tax Returns, signed and dated, with all Schedules and W-2s – 2 years
              most recently filed or a copy of an extension, if still in effect. If you are self-
              employed please include business returns;

       I.      Proof of Occupancy – A current utility bill in the borrower’s name;

       J.      Credit Report Authorization form (attached);

       K.      4506T form (attached);

       L.      Loss Mitigation Application form (attached); and

       M.      Uniform Borrower Assistance form (710 form) (attached).

Pursuant to the Loss Mitigation Order, these documents are to be submitted to us no later than
05/31/2018. We ask that you please provide us with these items as soon as possible, via email
to caltenburg@cohnroth.com, so that Caliber may begin reviewing this loan.

Should you have any questions, please do not hesitate to contact us.

Very truly yours,
Cohn & Roth, LLC

By: /s/ Carrie Altenburg
      Carrie Altenburg
      Paralegal


Enc.
cc: Robert M. George, Debtor
                                   Case 8-18-72034-las                                    Doc 16        Filed 05/17/18                     Entered 05/17/18 16:04:02


                                                                                                                                                                                            

                                                                                          LOSS MITIGATION APPLICATION

                                                                                              COMPLETE ALL PAGES OF THIS FORM
                                                      See Instructions corresponding with numbers in brackets {} on form
                                                                                      
Loan Number: {1}                ____________     _________ 
      
BORROWER {3}                                                                                             CO‐BORROWER {4} 

Borrower’s Name                                                                                          Co‐Borrower’s Name
 
Social Security No.                                                          Date of Birth               Social Security No.                                        Date of Birth  
 
Home phone number. with area code                                                                        Home phone number with area code
 
Cell or work number with area code                                                                       Cell or work number with area code
 
Email Address: □ Please check this box if you would like to receive loan                                 Email Address: □ Please check this box if you would like to receive loan modification status 
modification status and missing document information via email.                                          and missing document information via email. 
                                                                                                          
 
 
{5} Mailing address:  
 
 
      Property address (if same as mailing address, just check same)      same                  
{6} 
I want to:                                       □  Keep the Property             □  Sell the Property 
 
The property is my:                              □  Primary Residence             □  Second Home                  □ Investment                                                                                        
 
The property is: 
 
                                                □  Owner Occupied                 □  Renter Occupied             □  Vacant                                                                                               
{7}                                                                                              {8}
Is the property listed for sale?   □  Yes      □  No                                             Have you contacted a housing‐counseling agency for help  □  Yes □  No 
Have you received an offer on the property?  □  Yes      □  No                                   If yes, please complete the following: 
                                                                                                 Counselor’s Name: 
Date of offer:                         Amount of offer: $  ____________                           
                                                                                                 Agency Name: 
Agent’s Name? ______________________________________                                              
                                                                                                 Counselor’s Phone Number: 
Agent’s Phone Number:  _______________________________   
                                                                                                 Counselor’s E‐mail: 
For Sale by Owner?   □  Yes     □  No 
{9}                                                                                              {10} 
Who pays the real estate tax bill on your property:                                              Who pays the hazard insurance premium for your property?  
                                                                                                      
 □  I do      □  Lender does       □  Paid by condo or HOA                                       □  I do      □  Lender does       □  Paid by condo or HOA 
                                                                                                  
Are the taxes current?                  □  Yes                             □  No                 Is the policy current?                    □  Yes      □  No 
 
Condominium or HOA fees         □  Yes       □  No  $                                            Name of Insurance Co.:                                                                                        
                                                                                                  
Paid to:                                                                                         Insurance Co. Tel #:                                                                                          
 


      Loss Mitigation Application Page 1 of 4
                  Case 8-18-72034-las               Doc 16        Filed 05/17/18           Entered 05/17/18 16:04:02


 
                                                         COMPLETE ALL PAGES OF THIS FORM
                              See Instructions corresponding with numbers in brackets {} on form
 
 
{11} Bankruptcy 
Have you filed for bankruptcy?    □  Yes    □  No                     If yes:  □  Chapter 7    □  Chapter 13  Filing Date: _________________ 
Has your bankruptcy been discharged?     □  Yes     □  No            Bankruptcy case number: ____________________________________________ 
 
{12}  Additional Liens/Mortgages or Judgments on this property:  
                                                                                                                     
Lien Holder’s Name/Servicer               Balance                                   Contact Number                             Loan Number 
                                                                                                                     
                                                                                                                     
                                                                                                                     
                                                                                                                     
{13}   HARDSHIP AFFIDAVIT  
I am requesting review under your loss mitigation program.   
I am having difficulty making my monthly payment because of financial difficulties created by  (check all that apply): 
                                                                                     
□ My household income has been reduced.  For example:                         □  My monthly debt payments are excessive and I am overextended 
     unemployment, underemployment, reduced pay or hours, decline in                with my creditors.  Debt includes credit cards, home equity or other 
     business earnings, death, disability or divorce of a borrower or co‐           debt. 
     borrower. 
                                                                                     
□  My expenses have increased.  For example:  monthly mortgage                □  My cash reserves, including all liquid assets, are insufficient to 
     payment reset, high medical or health care costs, uninsured losses,            maintain my current mortgage payment and cover basic living 
     increased utilities or property taxes.                                         expenses at the same time. 
□ Other 




Loss Mitigation Application Page 2 of 4
                   Case 8-18-72034-las           Doc 16          Filed 05/17/18       Entered 05/17/18 16:04:02


 
                                                       COMPLETE ALL PAGES OF THIS FORM
                                See Instructions corresponding with numbers in brackets {} on form
 


{14}   Number of People in Household:  
Income 1                                        Assets                                       Expenses                       

                                                                                              
                                                                                             {37} First Mortgage            
{15} Monthly Gross Wages         $              {26}Checking Account(s)         $            Payment                       $ 


                                                                                             {38} Second Mortgage           
{16} Overtime                    $              {27} Checking Account(s)        $            Payment                       $ 

 
{17}  Child Support /                           {28} Savings/ Money                                                         
Alimony / Separation 2           $              Market                          $            {39} Insurance                $ 


                                                                                                                            
{18}  Social Security / SSDI     $              {29} CDs                        $            {40} Property Taxes           $ 
                                                                                             {41} Credit Cards / 
{19}  Other monthly income                                                                   Installment Loan(s) (total 
from pensions, annuities or                                                                  minimum payment per            
retirement plans                 $              {30}Stocks / Bonds              $            month)                        $ 
 
{20} Tips, commissions,                                                                       
bonus and Self‐Employed                                                                      {42} Alimony, child            
Income                           $              {31} Other Cash on Hand         $            support payments              $ 


                                                {32}  Other Real Estate                                                     
{21} Rental Income               $              (estimated value)                $           {43} Net Rental Expenses      $ 

                                                                                             {44} HOA/Condo Fees /          
{22} Unemployment income         $              {33} Other:                     $            Property Maintenance          $ 

                                                                                                                            
{23} Food Stamps / Welfare       $              {34} Other:                     $            {45} Car Payments             $ 



                                                                                             {46} Food/Groceries           $ 

                                                                                             {47} Utilities 
                                                                                             (Water/Electricity/Gas/ 
                                                                                             Trash)                        $ 



{24} Other                       $              {35} Other:                     $            {48} Other                    $ 

                                                                                             {49} Total Debt /              
{25} Total (Gross Income)        $              {36} Total Assets       $                    Expenses                      $ 
                                                   ALL INCOME MUST BE DOCUMENTED 
       1
         Include combined monthly income and expenses from the borrower and co‐borrower (if any).   
      2  You are not required to disclose Child Support, Alimony or Separation Maintenance income, unless you choose to have it      
      considered by your servicer. 




Loss Mitigation Application Page 3 of 4
                    Case 8-18-72034-las         Doc 16      Filed 05/17/18       Entered 05/17/18 16:04:02


     
     
     
    LOSS MITIGATION APPLICATION 
                                              ACKNOWLEDGMENT AND AGREEMENT 
     
    In making this request for consideration under your loss mitigation program, I certify under penalty of perjury: 
     
    That all of the information in this document is truthful and the event(s) identified on page one is/are the reason that I need
    to request a modification of the terms of my mortgage loan, short sale or deed-in-lieu of foreclosure.
     
    I understand that the Servicer,                                     , or its agents may investigate the accuracy of my
    statements and may require me to provide supporting documentation. I also understand that knowingly submitting false
    information may violate the law.
     
    I understand that the Servicer will pull a current credit report on all borrowers obligated on the Note.
 
    I understand that if I have intentionally defaulted on my existing mortgage, engaged in fraud or misrepresented any fact(s)
    in connection with this document, the Servicer may cancel any loss mitigation agreement and may pursue foreclosure on
    my home.
     
    That my Property is owner-occupied; I intend to reside in this property for the next twelve months; I have not received a
    condemnation notice; and there has been no change in the ownership of the Property since I signed the documents for the
    mortgage that I want to modify.
     
    I am willing to provide all requested documents and to respond to all Servicer questions in a timely manner.
     
    I understand that the Servicer will use the information in this document to evaluate my eligibility for a loan modification
    or short sale or deed-in-lieu of foreclosure, but the Servicer is not obligated to offer me assistance based solely on the
    statements in this document.
     
    I am willing to commit to housing counseling if it is determined that my financial hardship is related to excessive debt.
     
    I understand that the Servicer will collect and record personal information, including, but not limited to, my name,
    address, telephone number, social security number, credit score, income, payment history, government monitoring
    information, and information about account balances and activity. I understand and consent to the disclosure of my
    personal information and the terms of any loss mitigation agreement to any third party that needs this information to
    process this application, including but not limited to: any investor, insurer, guarantor or servicer that owns, insures,
    guarantees or services my first lien or subordinate liens (if applicable) mortgage loan(s); any companies that perform
    support services in conjunction with my mortgage; any HUD-certified housing counselor; and government regulators.
     
     
    {50}                                                                                                   __________________ 
            Borrower Signature                                                                                    Date 
             
                                                                                                           __________________ 
            Co‐Borrower Signature                                                                                 Date 
     
     
     
     
     
     



    Loss Mitigation Application Page 4 of 4
        Case 8-18-72034-las                  Doc 16         Filed 05/17/18            Entered 05/17/18 16:04:02


 


                                      Instructions for Completing the Loss Mitigation Application 
The numbers for each item below correspond to the same numbers in the form above.   
{1}   Your loan number on your mortgage loan statement. 
{2}   Your loan ‛‛Servicer’’ is the financial institution that collects your monthly payment. 
{3}   The borrower section must include information on the person whose name is on the ‛‛Note’’ for the mortgage loan.  
{4}   The co‐borrower is a second person on the Note for the mortgage loan.  Do not fill out this section for someone who is not 
obligated on the Note for the mortgage loan. 
{5}   Please provide a mailing address and a residential ‛‛Property’’ address if different. The Property address should 
correspond to the mortgage for which you are submitting a Loss Mitigation Application. 
{6}   For this section you should choose one option for each question. 
{7}   If your Property is not listed for sale, you do not need to fill out the rest of Section 7.  Only include offers for sale that you 
received in the past year. 
{8}   HUD‐approved counselors are available free of charge and can be located on the HUD website at www.HUD.gov. 
{9}   If your real estate taxes and property insurance are part of the monthly payment that you make to your servicer, select 
‛‛lender does.’’  ‛‛HOA’’ means Homeowner’s Association. 
{10}   If your hazard insurance premium is part of the monthly payment that you make to your servicer, select ‛‛lender does.’’  
‛‛HOA’’ means Homeowner’s Association. 
{11}   The filing date indicates when you officially filed for bankruptcy.  Only check the ‛‛yes’’ box for a discharged bankruptcy if 
you received a discharge from bankruptcy. 
{12}   Additional liens include second (or third) mortgages and home equity lines of credit. 
{13}   Please select as many hardships as apply to your situation.  You can use the extra lines to explain your hardship. 
{14}   Indicate the number of people in your household who contribute to the total income. 
{15}   Monthly gross wages are what you receive before taxes.  Use your most current pay stub to find this amount. 
{16}   This amount should be listed on a current pay stub. 
{17}   If you receive child support, alimony, or separation maintenance income, you are not required to report it.   
{18}   SSDI means Social Security/Disability Income. 
{19}   Only include if you are retired and collecting income from retired funds. 
{20}   Self‐Employed or commission borrowers (1099) must provide a copy of the most recently filed Federal tax return with all 
schedules and the most recent quarterly or year‐to‐date profit/loss statement. You must also provide a copy of three (3) 
months recent and consecutive business bank statements, or personal bank statements if no business account exists.  If 
organized as a corporation or partnership, you must provide the most recently filed corporate or partnership returns with all 
schedules.  
{21}   Only include rental income if used as part of your overall income. Include most recent tax return or current lease 
agreement or two cleared rent check copies. 
{22}   You must have at least nine months of unemployment income to report on this form. 
{23}   Report the amount indicated on your benefits letter.  A copy of your award letter must be provided. 
{24}   Add all other income and report sum in this box. 
{25}   Add all amounts in income column (boxes 15‐24) and report sum. 
{26} ‐ {28}   Report amounts for all accounts, if applicable. 
{29}   ‛‛CDs’’ means certificates of deposit. 
{30} ‐ {31}   Report amounts for all accounts, if applicable. 
{32}   Include estimated value for all other properties owned. 
{33}‐{35}   Report any other assets other than the value of life insurance or retirement plans, such as 401K, pension funds, IRAs 
{36}   Add all amounts in assets column (boxes 37‐45) and report sum. 
{37}   This amount can be found on your statement for your first mortgage. 
{38}   If applicable, this amount can be found on the statement for your second mortgage or home equity lines of credit. 
{39}   This refers only to homeowner’s insurance and should be reported only if you pay this yourself. 
{40}   Only report these taxes if you pay them yourself. 
{41}   Add all credit cards and installment payments and report sum here. 
{42}   If you are responsible for paying child support or alimony, you must report the amount here. 
{43}   Report amount if your total rental income does not cover your total rental expenses. 
{44}   ‛‛HOA’’ means Homeowner’s Association. 
{45}   Include car payments only if you are the owner of the vehicle. 
{46}   Include all household food expenses. 
{47}   Include all expenses for utilities (water, gas, electricity, trash). 
{48}   Include any other pertinent household expenses. 
{49}   Add all amounts in expense column (boxes 26‐35) and report sum. 
{50}   Please be sure to read the entire Loss Mitigation Application Acknowledgement and Agreement before signing. 


Loss Mitigation Application Instructions
                Case 8-18-72034-las        Doc 16    Filed 05/17/18   Entered 05/17/18 16:04:02




                                          USE AS INCOME VERIFICATION FOR CALIBER LOAN #

                                          BORROWER NAME:



                                LETTER OF VERIFICATION:
                           CONTRIBUTION TO HOUSEHOLD INCOME

Date
To: Caliber Home Loans:




This letter is written to state that I,                                     , contribute monthly
household income in the amount of $                             per month. My relationship to your current
borrower is                                         . I have attached 2 months of my most recent income
documentation to verify the source of the income. I state that this information provided is correct and
to the best of my knowledge.


Respectfully,




Signature Required




                                                               Let Us Guide You Home
                    Case 8-18-72034-las   Doc 16   Filed 05/17/18   Entered 05/17/18 16:04:02




         NON-BORROWER CONTRIBUTOR CREDIT REPORT AUTHORIZATION

Caliber Account Number: #


Borrower Name(s) (please print):



Each of the undersigned hereby acknowledges that Caliber Home Loans, Inc., as servicer for the owner
of the above-referenced mortgage loan, has permission to verify and to obtain any credit information or
data, for any legitimate business purpose through any source, including a consumer reporting agency.
(Non-borrower contributor(s) authorizing Caliber to pull their credit report must sign, date and provide
their social security number below)



X
Non-borrower Contributors Signature						Date			




Printed Name




Social Security #




X
Non-borrower Contributors Signature						Date			




Printed Name




Social Security #




4:00		              20120514rev                              Let Us Guide You Home
                      Case 8-18-72034-las                         Doc 16            Filed 05/17/18             Entered 05/17/18 16:04:02


;]`[!!   #$"%!&
#FSd'!GS^bS[PS`!+)*.$
                                                           #'-1'/0!(+.!$.%*/&.),0!+(!$%2!#'01.*
                                             "!5S!RSX!WMKR!XLMW!JSVQ!YRPIWW!EPP!ETTPMGEFPI!PMRIW!LEZI!FIIR!GSQTPIXIH&
                                                                                                                                                         DB6!C]'!*.-.&*10+
                                                   "!?IUYIWX!QE]!FI!VINIGXIH!MJ!XLI!JSVQ!MW!MRGSQTPIXI!SV!MPPIKMFPI&
8S^O`b[S\b!]T!bVS!H`SOac`g!!
>\bS`\OZ!FSdS\cS!GS`dWQS!                    "!6SV!QSVI!MRJSVQEXMSR!EFSYX!6SVQ!,-(.%A$!ZMWMX!>>>"289"06=#/684%&$';&

AMT&!!IaS!;]`[!-.)/&H!b]!]`RS`!O!b`O\aQ`W^b!]`!]bVS`!`Sbc`\!W\T]`[ObW]\!T`SS!]T!QVO`US'!GSS!bVS!^`]RcQb!ZWab!PSZ]e'!M]c!QO\!_cWQYZg!`S_cSab!b`O\aQ`W^ba!Pg!caW\U!
]c`!Ocb][ObSR!aSZT&VSZ^!aS`dWQS!b]]Za'!EZSOaS!dWaWb!ca!Ob!>FG'U]d!O\R!QZWQY!]\!j<Sb!O!HOf!H`O\aQ`W^b'''k!c\RS`!jH]]Zak!]`!QOZZ!*&1))&2)1&22-/'!>T!g]c!\SSR!O!Q]^g!
]T!g]c`!`Sbc`\%!caS!6SVQ!,-(.$!?IUYIWX!JSV!4ST]!SJ!AE\!?IXYVR&!HVS`S!Wa!O!TSS!b]!USb!O!Q]^g!]T!g]c`!`Sbc`\'!

   )E!!CO[S!aV]e\!]\!bOf!`Sbc`\'!>T!O!X]W\b!`Sbc`\%!S\bS`!bVS!\O[S!                          )F!!6MVWX!WSGMEP!WIGYVMX]!RYQFIV!SR!XE\!VIXYVR$!MRHMZMHYEP!XE\TE]IV!MHIRXMJMGEXMSR!
       aV]e\!TW`ab'!                                                                             RYQFIV$!SV!IQTPS]IV!MHIRXMJMGEXMSR!RYQFIV!"WII!MRWXVYGXMSRW#!


   *E!!>T!O!X]W\b!`Sbc`\%!S\bS`!a^]caSia!\O[S!aV]e\!]\!bOf!`Sbc`\'!                          *F!!@IGSRH!WSGMEP!WIGYVMX]!RYQFIV!SV!MRHMZMHYEP!XE\TE]IV!
                                                                                                 MHIRXMJMGEXMSR!RYQFIV!MJ!NSMRX!XE\!VIXYVR!


   +!!!7c``S\b!\O[S%!ORR`Saa!#W\QZcRW\U!O^b'%!`]][%!]`!acWbS!\]'$%!QWbg%!abObS%!O\R!N>E!Q]RS!#aSS!W\ab`cQbW]\a$!


   ,!!!E`SdW]ca!ORR`Saa!aV]e\!]\!bVS!ZOab!`Sbc`\!TWZSR!WT!RWTTS`S\b!T`][!ZW\S!,!#aSS!W\ab`cQbW]\a$


   -!!!>T!bVS!b`O\aQ`W^b!]`!bOf!W\T]`[ObW]\!Wa!b]!PS![OWZSR!b]!O!bVW`R!^O`bg!#acQV!Oa!O![]`bUOUS!Q][^O\g$%!S\bS`!bVS!bVW`R!^O`bgia!\O[S%!ORR`Saa%!!
       O\R!bSZS^V]\S!\c[PS`'!


4EYXMSR2!>T!bVS!bOf!b`O\aQ`W^b!Wa!PSW\U![OWZSR!b]!O!bVW`R!^O`bg%!S\ac`S!bVOb!g]c!VOdS!TWZZSR!W\!ZW\Sa!/!bV`]cUV!2!PST]`S!aWU\W\U'!GWU\!O\R!RObS!bVS!T]`[!]\QS!
g]c!VOdS!TWZZSR!W\!bVSaS!ZW\Sa'!7][^ZSbW\U!bVSaS!abS^a!VSZ^a!b]!^`]bSQb!g]c`!^`WdOQg'!D\QS!bVS!>FG!RWaQZ]aSa!g]c`!bOf!b`O\aQ`W^b!b]!bVS!bVW`R!^O`bg!ZWabSR!
]\!ZW\S!.%!bVS!>FG!VOa!\]!Q]\b`]Z!]dS`!eVOb!bVS!bVW`R!^O`bg!R]Sa!eWbV!bVS!W\T]`[ObW]\'!>T!g]c!e]cZR!ZWYS!b]!ZW[Wb!bVS!bVW`R!^O`bgia!OcbV]`Wbg!b]!RWaQZ]aS!g]c`!
b`O\aQ`W^b!W\T]`[ObW]\%!g]c!QO\!a^SQWTg!bVWa!ZW[WbObW]\!W\!g]c`!e`WbbS\!OU`SS[S\b!eWbV!bVS!bVW`R!^O`bg'

   .!    AVERWGVMTX!VIUYIWXIH&!9\bS`!bVS!bOf!T]`[!\c[PS`!VS`S!#*)-)%!*)/.%!**+)%!SbQ'$!O\R!QVSQY!bVS!O^^`]^`WObS!P]f!PSZ]e'!9\bS`!]\Zg!]\S!bOf!T]`[!
         \c[PS`!^S`!`S_cSab'!"   1040
    E! ?IXYVR!AVERWGVMTX$! eVWQV!W\QZcRSa![]ab!]T! bVS!ZW\S!WbS[a! ]T!O! bOf! `Sbc`\! Oa!TWZSR! eWbV! bVS!>FG'!5!bOf!`Sbc`\!b`O\aQ`W^b!R]Sa! \]b! `STZSQb!
       QVO\USa![ORS! b]!bVS!OQQ]c\b!OTbS`!bVS!`Sbc`\!Wa!^`]QSaaSR'!H`O\aQ`W^ba! O`S! ]\Zg!OdOWZOPZS!T]`!bVS!T]ZZ]eW\U!`Sbc`\a3! ;]`[!*)-)!aS`WSa%!
       ;]`[!*)/.%!;]`[!**+)%!;]`[!**+)&5%!;]`[!**+)&=%!;]`[!**+)&A%!O\R!;]`[!**+)G'!FSbc`\!b`O\aQ`W^ba!O`S!OdOWZOPZS!T]`!bVS!Qc``S\b!gSO`!
       O\R!`Sbc`\a!^`]QSaaSR!Rc`W\U!bVS!^`W]`!,!^`]QSaaW\U!gSO`a'!B]ab!`S_cSaba!eWZZ!PS!^`]QSaaSR!eWbVW\!*)!PcaW\Saa!ROga! ' ' ' ' ' '                                      X
    F! 3GGSYRX! AVERWGVMTX$! eVWQV! Q]\bOW\a! W\T]`[ObW]\! ]\! bVS! TW\O\QWOZ! abObca! ]T! bVS! OQQ]c\b%! acQV! Oa! ^Og[S\ba! [ORS! ]\! bVS! OQQ]c\b%! ^S\OZbg!
       OaaSaa[S\ba%!O\R!ORXcab[S\ba![ORS!Pg!g]c!]`!bVS!>FG!OTbS`!bVS!`Sbc`\!eOa!TWZSR'!FSbc`\!W\T]`[ObW]\!Wa!ZW[WbSR!b]!WbS[a!acQV!Oa!bOf!ZWOPWZWbg!
       O\R!SabW[ObSR!bOf!^Og[S\ba'!5QQ]c\b!b`O\aQ`W^ba!O`S!OdOWZOPZS!T]`![]ab!`Sbc`\a'!B]ab!`S_cSaba!eWZZ!PS!^`]QSaaSR!eWbVW\!*)!PcaW\Saa!ROga! '
    G! ?IGSVH! SJ! 3GGSYRX$! eVWQV! ^`]dWRSa! bVS! []ab! RSbOWZSR! W\T]`[ObW]\! Oa! Wb! Wa! O! Q][PW\ObW]\! ]T! bVS! FSbc`\! H`O\aQ`W^b! O\R! bVS! 5QQ]c\b!
       H`O\aQ`W^b'!5dOWZOPZS!T]`!Qc``S\b!gSO`!O\R!,!^`W]`!bOf!gSO`a'!B]ab!`S_cSaba!eWZZ!PS!^`]QSaaSR!eWbVW\!*)!PcaW\Saa!ROga! ' ' ' ' ' '
   /!   BIVMJMGEXMSR!SJ!=SRJMPMRK$!eVWQV!Wa!^`]]T!T`][!bVS!>FG!bVOb!g]c!HMH!RSX!TWZS!O!`Sbc`\!T]`!bVS!gSO`'!7c``S\b!gSO`!`S_cSaba!O`S!]\Zg!OdOWZOPZS!
        OTbS`!?c\S!*.bV'!HVS`S!O`S!\]!OdOWZOPWZWbg!`Sab`WQbW]\a!]\!^`W]`!gSO`!`S_cSaba'!B]ab!`S_cSaba!eWZZ!PS!^`]QSaaSR!eWbVW\!*)!PcaW\Saa!ROga!' '
   0!   6SVQ!C%*$!6SVQ!)(11!WIVMIW$!6SVQ!)(10!WIVMIW$!SV!6SVQ!-,10!WIVMIW!XVERWGVMTX&!HVS!>FG!QO\!^`]dWRS!O!b`O\aQ`W^b!bVOb!W\QZcRSa!RObO!T`][!
        bVSaS! W\T]`[ObW]\! `Sbc`\a'! GbObS! ]`! Z]QOZ! W\T]`[ObW]\! Wa! \]b! W\QZcRSR! eWbV! bVS! ;]`[! K&+! W\T]`[ObW]\'! HVS! >FG! [Og! PS! OPZS! b]! ^`]dWRS! bVWa!
        b`O\aQ`W^b!W\T]`[ObW]\!T]`!c^!b]!*)!gSO`a'!>\T]`[ObW]\!T]`!bVS!Qc``S\b!gSO`!Wa!US\S`OZZg!\]b!OdOWZOPZS!c\bWZ!bVS!gSO`!OTbS`!Wb!Wa!TWZSR!eWbV!bVS!>FG'!;]`!
        SfO[^ZS%!K&+!W\T]`[ObW]\!T]`!+)**%!TWZSR!W\!+)*+%!eWZZ!ZWYSZg!\]b!PS!OdOWZOPZS!T`][!bVS!>FG!c\bWZ!+)*,'!>T!g]c!\SSR!K&+!W\T]`[ObW]\!T]`!`SbW`S[S\b!
        ^c`^]aSa%!g]c!aV]cZR!Q]\bOQb!bVS!G]QWOZ!GSQc`Wbg!5R[W\Wab`ObW]\!Ob!*&1))&00+&*+*,'!B]ab!`S_cSaba!eWZZ!PS!^`]QSaaSR!eWbVW\!*)!PcaW\Saa!ROga! '
4EYXMSR2!>T!g]c!\SSR!O!Q]^g!]T!;]`[!K&+!]`!;]`[!*)22%!g]c!aV]cZR!TW`ab!Q]\bOQb!bVS!^OgS`'!H]!USb!O!Q]^g!]T!bVS!;]`[!K&+!]`!;]`[!*)22!TWZSR!
eWbV!g]c`!`Sbc`\%!g]c![cab!caS!;]`[!-.)/!O\R!`S_cSab!O!Q]^g!]T!g]c`!`Sbc`\%!eVWQV!W\QZcRSa!OZZ!ObbOQV[S\ba'!
   1!    DIEV!SV!TIVMSH!VIUYIWXIH&!9\bS`!bVS!S\RW\U!RObS!]T!bVS!gSO`!]`!^S`W]R%!caW\U!bVS![[(RR(gggg!T]`[Ob'!>T!g]c!O`S!`S_cSabW\U![]`S!bVO\!T]c`!
         gSO`a! ]`! ^S`W]Ra%! g]c! [cab! ObbOQV! O\]bVS`! ;]`[! -.)/&H'! ;]`! `S_cSaba! `SZObW\U! b]! _cO`bS`Zg! bOf! `Sbc`\a%! acQV! Oa! ;]`[! 2-*%! g]c! [cab! S\bS`!
         SOQV!_cO`bS`!]`!bOf!^S`W]R!aS^O`ObSZg'!
                                                               12 (! 31       (! 2018        12 (! 31      (! 2017         12 (! 31     (! 2016              (!       (!

4EYXMSR2!8]!\]b!aWU\!bVWa!T]`[!c\ZSaa!OZZ!O^^ZWQOPZS!ZW\Sa!VOdS!PSS\!Q][^ZSbSR'

@MKREXYVI! SJ! XE\TE]IV"W#&! >! RSQZO`S! bVOb! >! O[! SWbVS`! bVS! bOf^OgS`! eV]aS! \O[S! Wa! aV]e\! ]\! ZW\S! *O! ]`! +O%! ]`! O! ^S`a]\! OcbV]`WhSR! b]! ]PbOW\! bVS! bOf!
W\T]`[ObW]\! `S_cSabSR'! >T! bVS! `S_cSab! O^^ZWSa! b]! O! X]W\b! `Sbc`\%! Ob! ZSOab! ]\S! a^]caS! [cab! aWU\'! >T! aWU\SR! Pg! O! Q]`^]`ObS! ]TTWQS`%! *! ^S`QS\b! ]`! []`S!
aVO`SV]ZRS`%!^O`b\S`%![O\OUW\U![S[PS`%!UcO`RWO\%!bOf!![ObbS`a!^O`b\S`%!SfSQcb]`%!`SQSWdS`%!OR[W\Wab`Ob]`%!b`cabSS%!]`!^O`bg!]bVS`!bVO\!bVS!bOf^OgS`%!>!
QS`bWTg!bVOb!>!VOdS!bVS!OcbV]`Wbg!b]!SfSQcbS!;]`[!-.)/&H!]\!PSVOZT!]T!bVS!bOf^OgS`'!=SXI2!;]`!b`O\aQ`W^ba!PSW\U!aS\b!b]!O!bVW`R!^O`bg%!bVWa!T]`[![cab!PS!
`SQSWdSR!eWbVW\!*+)!ROga!]T!bVS!aWU\Obc`S!RObS'

X @MKREXSV]!EXXIWXW!XLEX!LI'WLI!LEW!VIEH!XLI!EXXIWXEXMSR!GPEYWI!ERH!YTSR!WS!VIEHMRK!HIGPEVIW!XLEX!LI'WLI!
  LEW!XLI!EYXLSVMX]!XS!WMKR!XLI!6SVQ!,-(.%A&!GSS!W\ab`cQbW]\a'
                                                                                                                                       EV]\S!\c[PS`!]T!bOf^OgS`!]\!ZW\S!
                                                                                                                                       *O!]`!+O!


                 @MKREXYVI!#aSS!W\ab`cQbW]\a$!                                                            8ObS!
@MKR!!
8IVI!            AMXPI!#WT!ZW\S!*O!OP]dS!Wa!O!Q]`^]`ObW]\%!^O`b\S`aVW^%!SabObS%!]`!b`cab$!


                 @TSYWI^W!WMKREXYVI!                                                                      8ObS!
6SV!>VMZEG]!3GX!ERH!>ETIV[SVO!?IHYGXMSR!3GX!=SXMGI$!WII!TEKI!*&!                                           7Ob'!C]'!,0//0C                         ;]`[!,-(.%A!#FSd'!2&+)*.$!
                        Case 8-18-72034-las                  Doc 16            Filed 05/17/18                Entered 05/17/18 16:04:02

;]`[!-.)/&H!#FSd'!2&+)*.$!                                                                                                                                                EOUS!!*!

GSQbW]\!`STS`S\QSa!O`S!b]!bVS!>\bS`\OZ!FSdS\cS!7]RS!        4LEVX!JSV!EPP!SXLIV!XVERWGVMTXW!                             )68768,;2659"!<S\S`OZZg%!;]`[!-.)/&H!QO\!PS!
c\ZSaa!]bVS`eWaS!\]bSR'                                                                                                aWU\SR!Pg3!#*$!O\!]TTWQS`!VOdW\U!ZSUOZ!OcbV]`Wbg!b]!PW\R!
                                                            9J!]SY!PMZIH!MR!!!                                         bVS!Q]`^]`ObW]\%!#+$!O\g!^S`a]\!RSaWU\ObSR!Pg!bVS!
6YXYVI!5IZIPSTQIRXW                                         SV!]SYV!FYWMRIWW!!            <EMP!SV!JE\!XS2!             P]O`R!]T!RW`SQb]`a!]`!]bVS`!U]dS`\W\U!P]Rg%!]`!#,$!
                                                            [EW!MR2!                                                   O\g!]TTWQS`!]`!S[^Z]gSS!]\!e`WbbS\!`S_cSab!Pg!O\g!
;]`!bVS!ZObSab!W\T]`[ObW]\!OP]cb!;]`[!-.)/&H!O\R!Wba!
                                                                                                                       ^`W\QW^OZ!]TTWQS`!O\R!ObbSabSR!b]!Pg!bVS!aSQ`SbO`g!]`!
W\ab`cQbW]\a%!U]!b]!AAA"3<="18@#08<6%&$'>"!
                                                            5ZOPO[O%!5ZOaYO%!!                                         ]bVS`!]TTWQS`'!5!P]\O!TWRS!aVO`SV]ZRS`!]T!`SQ]`R!
>\T]`[ObW]\!OP]cb!O\g!`SQS\b!RSdSZ]^[S\ba!OTTSQbW\U!
                                                            5`Wh]\O%!5`YO\aOa%!!                                       ]e\W\U!*!^S`QS\b!]`![]`S!]T!bVS!]cbabO\RW\U!ab]QY!
;]`[!-.)/&H!#acQV!Oa!ZSUWaZObW]\!S\OQbSR!OTbS`!eS!
                                                            7OZWT]`\WO%!7]Z]`OR]%!!                                    ]T!bVS!Q]`^]`ObW]\![Og!acP[Wb!O!;]`[!-.)/&H!Pcb!
`SZSOaSR!Wb$!eWZZ!PS!^]abSR!]\!bVOb!^OUS'
                                                            ;Z]`WRO%!=OeOWW%!>ROV]%!                                   [cab!^`]dWRS!R]Qc[S\bObW]\!b]!ac^^]`b!bVS!
                                                            >]eO%!@O\aOa%!                                             `S_cSabS`"a!`WUVb!b]!`SQSWdS!bVS!W\T]`[ObW]\'!
7IRIVEP!9RWXVYGXMSRW!                                       A]cWaWO\O%!BW\\Sa]bO%!!                                      +,8;5.891279"!<S\S`OZZg%!;]`[!-.)/&H!QO\!PS!
4EYXMSR2!8]!\]b!aWU\!bVWa!T]`[!c\ZSaa!OZZ!O^^ZWQOPZS!       BWaaWaaW^^W%!               >\bS`\OZ!FSdS\cS!GS`dWQS!      aWU\SR!Pg!O\g!^S`a]\!eV]!eOa!O![S[PS`!]T!bVS!
ZW\Sa!VOdS!PSS\!Q][^ZSbSR'                                  BWaa]c`W%!B]\bO\O%!!        F5>JG!HSO[!!!                  ^O`b\S`aVW^!Rc`W\U!O\g!^O`b!]T!bVS!bOf!^S`W]R!
>YVTSWI!SJ!JSVQ&!IaS!;]`[!-.)/&H!b]!`S_cSab!bOf!            CSP`OaYO%!CSdORO%!!         E'D'!6]f!22-*!!!               `S_cSabSR!]\!ZW\S!2'!
`Sbc`\!W\T]`[ObW]\'!M]c!QO\!OZa]!RSaWU\ObS!#]\!ZW\S!.$!     CSe!BSfWQ]%!                BOWZ!Gb]^!/0,-!!!                 (33!6;1.89"!GSS!aSQbW]\!/*),#S$!WT!bVS!bOf^OgS`!VOa!
O!bVW`R!^O`bg!b]!`SQSWdS!bVS!W\T]`[ObW]\'!HOf^OgS`a!        C]`bV!8OY]bO%!!             DURS\%!IH!1--)2!               RWSR%!Wa!W\a]ZdS\b%!Wa!O!RWaa]ZdSR!Q]`^]`ObW]\%!]`!WT!O!
caW\U!O!bOf!gSO`!PSUW\\W\U!W\!]\S!QOZS\RO`!gSO`!O\R!        DYZOV][O%!D`SU]\%!!         !!!                            b`cabSS%!UcO`RWO\%!SfSQcb]`%!`SQSWdS`%!]`!
S\RW\U!W\!bVS!T]ZZ]eW\U!gSO`!#TWaQOZ!bOf!gSO`$![cab!TWZS!   G]cbV!8OY]bO%!HSfOa%!!      !                              OR[W\Wab`Ob]`!Wa!OQbW\U!T]`!bVS!bOf^OgS`'!
;]`[!-.)/&H!b]!`S_cSab!O!`Sbc`\!b`O\aQ`W^b'                 IbOV%!KOaVW\Ub]\%!!         !
                                                                                                                       =SXI2!>T!g]c!O`S!=SW`!Ob!ZOe%!CSfb!]T!YW\%!]`!
                                                            Kg][W\U%!O!T]`SWU\!!        !
=SXI2!>T!g]c!O`S!c\ac`S!]T!eVWQV!bg^S!]T!b`O\aQ`W^b!                                                                   6S\STWQWO`g!g]c![cab!PS!OPZS!b]!SabOPZWaV!O![ObS`WOZ!
                                                            Q]c\b`g%!5[S`WQO\!          1)*&/+)&/2++
g]c!\SSR%!`S_cSab!bVS!FSQ]`R!]T!5QQ]c\b%!Oa!Wb!                                                                        W\bS`Sab!W\!bVS!SabObS!]`!b`cab'
                                                            GO[]O%!EcS`b]!FWQ]%!
^`]dWRSa!bVS![]ab!RSbOWZSR!W\T]`[ObW]\'                                                                                5SGYQIRXEXMSR&!;]`!S\bWbWSa!]bVS`!bVO\!!W\RWdWRcOZa%!
                                                            <cO[%!bVS!
AMT&!IaS!;]`[!-.)/%!FS_cSab!T]`!7]^g!]T!                    7][[]\eSOZbV!]T!bVS!                                       g]c![cab!ObbOQV!bVS!OcbV]`WhObW]\!R]Qc[S\b'!;]`!
HOf!FSbc`\%!b]!`S_cSab!Q]^WSa!]T!bOf!`Sbc`\a'               C]`bVS`\!BO`WO\O!                                          SfO[^ZS%!bVWa!Q]cZR!PS!bVS!ZSbbS`!T`][!bVS!^`W\QW^OZ!
                                                            >aZO\Ra%!bVS!I'G'!JW`UW\!                                  ]TTWQS`!OcbV]`WhW\U!O\!S[^Z]gSS!]T!bVS!Q]`^]`ObW]\!]`!
3YXSQEXIH!XVERWGVMTX!VIUYIWX&!M]c!QO\!_cWQYZg!                                                                         bVS!ZSbbS`a!bSabO[S\bO`g!OcbV]`WhW\U!O\!W\RWdWRcOZ!b]!
`S_cSab!b`O\aQ`W^ba!Pg!caW\U!]c`!Ocb][ObSR!                 >aZO\Ra%!]`!5'E'D'!]`!!
                                                            ;'E'D'!ORR`Saa!                                            OQb!T]`!O\!SabObS'!
aSZT&VSZ^!aS`dWQS!b]]Za'!EZSOaS!dWaWb!ca!Ob!>FG'U]d!O\R!
QZWQY!]\!j<Sb!O!HOf!H`O\aQ`W^b'''k!c\RS`!jH]]Zak!]`!                                                                   @MKREXYVI!F]!E!VITVIWIRXEXMZI&!5!`S^`SaS\bObWdS!
                                                            7]\\SQbWQcb%!!                                             QO\!aWU\!;]`[!-.)/&H!T]`!O!bOf^OgS`!]\Zg!WT!bVS!
QOZZ!*&1))&2)1&22-/'!                                       8SZOeO`S%!8Wab`WQb!]T!!                                    bOf^OgS`!VOa!a^SQWTWQOZZg!RSZSUObSR!bVWa!OcbV]`Wbg!b]!
CLIVI!XS!JMPI&!BOWZ!]`!TOf!;]`[!-.)/&H!b]!                  7]Zc[PWO%!<S]`UWO%!                                        bVS!`S^`SaS\bObWdS!]\!;]`[!+1-1%!ZW\S!.'!HVS!
bVS!ORR`Saa!PSZ]e!T]`!bVS!abObS!g]c!ZWdSR!W\%!              >ZZW\]Wa%!>\RWO\O%!         >\bS`\OZ!FSdS\cS!GS`dWQS!
                                                                                        F5>JG!HSO[!!                   `S^`SaS\bObWdS![cab!ObbOQV!;]`[!+1-1!aV]eW\U!bVS!
]`!bVS!abObS!g]c`!PcaW\Saa!eOa!W\%!eVS\!bVOb!`Sbc`\!        @S\bcQYg%!BOW\S%!                                          RSZSUObW]\!b]!;]`[!-.)/&H'
eOa!TWZSR'!HVS`S!O`S!be]!ORR`Saa!QVO`ba3!]\S!T]`!           BO`gZO\R%!!                 E'D'!6]f!*-..))!!!
W\RWdWRcOZ!b`O\aQ`W^ba!#;]`[!*)-)!aS`WSa!O\R!;]`[!          BOaaOQVcaSbba%!!            Gb]^!+1))!;!
                                                                                                                       >VMZEG]!3GX!ERH!>ETIV[SVO!?IHYGXMSR!3GX!=SXMGI&!
K&+$!O\R!]\S!T]`!OZZ!]bVS`!b`O\aQ`W^ba'!                    BWQVWUO\%!CSe!!             7W\QW\\ObW%!D=!-.+.)!
                                                                                                                       KS!OaY!T]`!bVS!W\T]`[ObW]\!]\!bVWa!T]`[!b]!SabOPZWaV!
                                                            =O[^aVW`S%!CSe!!            !
   >T!g]c!O`S!`S_cSabW\U![]`S!bVO\!]\S!b`O\aQ`W^b!]`!                                                                  g]c`!`WUVb!b]!UOW\!OQQSaa!b]!bVS!`S_cSabSR!bOf!
                                                            ?S`aSg%!CSe!M]`Y%!!         !
]bVS`!^`]RcQb!O\R!bVS!QVO`b!PSZ]e!aV]ea!be]!                                                                           W\T]`[ObW]\!c\RS`!bVS!>\bS`\OZ!FSdS\cS!7]RS'!KS!
                                                            C]`bV!7O`]ZW\O%!!!          !                              \SSR!bVWa!W\T]`[ObW]\!b]!^`]^S`Zg!WRS\bWTg!bVS!bOf!
RWTTS`S\b!ORR`SaaSa%!aS\R!g]c`!`S_cSab!b]!bVS!
ORR`Saa!POaSR!]\!bVS!ORR`Saa!]T!g]c`![]ab!`SQS\b!           DVW]%!ES\\agZdO\WO%!!       !                              W\T]`[ObW]\!O\R!`Sa^]\R!b]!g]c`!`S_cSab'!M]c!O`S!
`Sbc`\'                                                     FV]RS!>aZO\R%!G]cbV!!       !                              \]b!`S_cW`SR!b]!`S_cSab!O\g!b`O\aQ`W^b4!WT!g]c!R]!
                                                            7O`]ZW\O%!HS\\SaaSS%!       1.2&//2&,.2+!                  `S_cSab!O!b`O\aQ`W^b%!aSQbW]\a!/*),!O\R!/*)2!O\R!
4LEVX!JSV!MRHMZMHYEP!XVERWGVMTXW!                           JS`[]\b%!JW`UW\WO%!!                                       bVSW`!`SUcZObW]\a!`S_cW`S!g]c!b]!^`]dWRS!bVWa!
"6SVQ!)(,(!WIVMIW!ERH!6SVQ!C%*!                             KSab!JW`UW\WO%!                                            W\T]`[ObW]\%!W\QZcRW\U!g]c`!GGC!]`!9>C'!>T!g]c!R]!\]b!
                                                            KWaQ]\aW\!                                                 ^`]dWRS!bVWa!W\T]`[ObW]\%!eS![Og!\]b!PS!OPZS!b]!
ERH!6SVQ!)(11#!                                                                                                        ^`]QSaa!g]c`!`S_cSab'!E`]dWRW\U!TOZaS!]`!T`OcRcZS\b!
9J!]SY!JMPIH!ER!!                                           ;MRI!)F&!9\bS`!g]c`!S[^Z]gS`!WRS\bWTWQObW]\!!\c[PS`!       W\T]`[ObW]\![Og!acPXSQb!g]c!b]!^S\OZbWSa'!
                                                            #9>C$!WT!g]c`!`S_cSab!`SZObSa!b]!O!PcaW\Saa!`Sbc`\'!
MRHMZMHYEP!VIXYVR!!              <EMP!SV!JE\!XS2!           DbVS`eWaS%!S\bS`!bVS!TW`ab!a]QWOZ!aSQc`Wbg!\c[PS`!
                                                                                                                           F]cbW\S!caSa!]T!bVWa!W\T]`[ObW]\!W\QZcRS!UWdW\U!Wb!b]!
ERH!PMZIH!MR2!                                                                                                         bVS!8S^O`b[S\b!]T!?cabWQS!T]`!QWdWZ!O\R!Q`W[W\OZ!
                                                            #GGC$!]`!g]c`!W\RWdWRcOZ!bOf^OgS`!WRS\bWTWQObW]\!
                                                                                                                       ZWbWUObW]\%!O\R!QWbWSa%!abObSa%!bVS!8Wab`WQb!]T!7]Zc[PWO%!
5ZOPO[O%!@S\bcQYg%!             !!                          \c[PS`!#>H>C$!aV]e\!]\!bVS!`Sbc`\'!;]`!SfO[^ZS%!WT!
                                                                                                                       O\R!I'G'!Q][[]\eSOZbVa!O\R!^]aaSaaW]\a!T]`!caS!
A]cWaWO\O%!BWaaWaaW^^W%!!       !!                          g]c!O`S!`S_cSabW\U!;]`[!*)-)!bVOb!W\QZcRSa!
                                                                                                                       W\!OR[W\WabS`W\U!bVSW`!bOf!ZOea'!KS![Og!OZa]!RWaQZ]aS!
HS\\SaaSS%!HSfOa%!O!!           >\bS`\OZ!FSdS\cS!GS`dWQS!   GQVSRcZS!7!#;]`[!*)-)$%!S\bS`!g]c`!GGC'
                                                                                                                       bVWa!W\T]`[ObW]\!b]!]bVS`!Q]c\b`WSa!c\RS`!O!bOf!b`SObg%!
T]`SWU\!Q]c\b`g%!5[S`WQO\!      F5>JG!HSO[!!!               ;MRI!+&!9\bS`!g]c`!Qc``S\b!ORR`Saa'!>T!g]c!caS!O!E'D'!     b]!TSRS`OZ!O\R!abObS!OUS\QWSa!b]!S\T]`QS!TSRS`OZ!
GO[]O%!EcS`b]!FWQ]%!            Gb]^!/0*/!5IG7!!!!          P]f%!W\QZcRS!Wb!]\!bVWa!ZW\S'                              \]\bOf!Q`W[W\OZ!ZOea%!]`!b]!TSRS`OZ!ZOe!S\T]`QS[S\b!
<cO[%!bVS!                      5cabW\%!HL!0,,)*!           ;MRI!,&!9\bS`!bVS!ORR`Saa!aV]e\!]\!bVS!ZOab!`Sbc`\!        O\R!W\bSZZWUS\QS!OUS\QWSa!b]!Q][POb!bS``]`Wa['!
7][[]\eSOZbV!]T!bVS!            !                           TWZSR!WT!RWTTS`S\b!T`][!bVS!ORR`Saa!S\bS`SR!]\!ZW\S!,'       M]c!O`S!\]b!`S_cW`SR!b]!^`]dWRS!bVS!!W\T]`[ObW]\!
C]`bVS`\!BO`WO\O!>aZO\Ra%!      !!                                                                                     `S_cSabSR!]\!O!T]`[!bVOb!Wa!acPXSQb!b]!bVS!EO^S`e]`Y!
                                                            =SXI2!>T!bVS!ORR`SaaSa!]\!ZW\Sa!,!O\R!-!O`S!RWTTS`S\b!
bVS!I'G'!JW`UW\!>aZO\Ra%!]`!!   .*+&-/)&++0+!                                                                          FSRcQbW]\!5Qb!c\ZSaa!bVS!T]`[!RWa^ZOga!O!dOZWR!DB6!
                                                            O\R!g]c!VOdS!\]b!QVO\USR!g]c`!ORR`Saa!eWbV!bVS!
5'E'D'!]`!;'E'D'!ORR`Saa!                                                                                              Q]\b`]Z!\c[PS`'!6]]Ya!]`!`SQ]`Ra!`SZObW\U!b]!O!T]`[!
                                                            >FG%!TWZS!;]`[!11++%!7VO\US!]T!5RR`Saa'!;]`!O!
5ZOaYO%!5`Wh]\O%!5`YO\aOa%!     !!                          PcaW\Saa!ORR`Saa%!TWZS!;]`[!11++&6%!7VO\US!]T!             ]`!Wba!W\ab`cQbW]\a![cab!PS!`SbOW\SR!Oa!Z]\U!Oa!bVSW`!
7OZWT]`\WO%!7]Z]`OR]%!          !!                          5RR`Saa!]`!FSa^]\aWPZS!EO`bg!l!6caW\Saa'!!                 Q]\bS\ba![Og!PSQ][S![ObS`WOZ!W\!bVS!OR[W\Wab`ObW]\!
=OeOWW%!>ROV]%!>ZZW\]Wa%!       >\bS`\OZ!FSdS\cS!GS`dWQS!                                                              ]T!O\g!>\bS`\OZ!FSdS\cS!ZOe'!<S\S`OZZg%!bOf!`Sbc`\a!
                                                            ;MRI!.&!9\bS`!]\Zg!]\S!bOf!T]`[!\c[PS`!^S`!                O\R!`Sbc`\!W\T]`[ObW]\!O`S!Q]\TWRS\bWOZ%!Oa!`S_cW`SR!
>\RWO\O%!>]eO%!@O\aOa%!         F5>JG!HSO[!!!               `S_cSab'
BWQVWUO\%!BW\\Sa]bO%!!          Gb]^!,0*)/!!!                                                                          Pg!aSQbW]\!/*),'!
B]\bO\O%!CSP`OaYO%!!            ;`Sa\]%!75!2,111!           @MKREXYVI!ERH!HEXI&!;]`[!-.)/&H![cab!PS!aWU\SR!               HVS!bW[S!\SSRSR!b]!Q][^ZSbS!O\R!TWZS!;]`[!!!
CSdORO%!CSe!BSfWQ]%!            !                           O\R!RObSR!Pg!bVS!bOf^OgS`!ZWabSR!]\!ZW\S!*O!]`!+O'!>T!     -.)/&H!eWZZ!dO`g!RS^S\RW\U!]\!W\RWdWRcOZ!
C]`bV!8OY]bO%!DYZOV][O%!!       !                           g]c!Q][^ZSbSR!ZW\S!.!`S_cSabW\U!bVS!W\T]`[ObW]\!PS!        QW`Qc[abO\QSa'!HVS!SabW[ObSR!OdS`OUS!bW[S!Wa3!
D`SU]\%!G]cbV!8OY]bO%!          !!                          aS\b!b]!O!bVW`R!^O`bg%!bVS!>FG![cab!`SQSWdS!;]`[!          ;IEVRMRK!EFSYX!XLI!PE[!SV!XLI!JSVQ$!*)!![W\'4!
                                                            -.)/&H!eWbVW\!*+)!ROga!]T!bVS!RObS!aWU\SR!Pg!bVS!          >VITEVMRK!XLI!JSVQ$!*+![W\'4!O\R!4ST]MRK$!
IbOV%!KOaVW\Ub]\%!!             ..2&-./&0++0
                                                            bOf^OgS`!]`!Wb!eWZZ!PS!`SXSQbSR'!9\ac`S!bVOb!OZZ!          EWWIQFPMRK$!ERH!WIRHMRK!XLI!JSVQ!XS!XLI!9?@$!!!!!
KWaQ]\aW\%!Kg][W\U
                                                            O^^ZWQOPZS!ZW\Sa!O`S!Q][^ZSbSR!PST]`S!aWU\W\U'             +)![W\'!
7]\\SQbWQcb%!8SZOeO`S%!         !!                                      *8?!6?=>!-2/-4!>2/!,8B!37!>2/!=317+>?</!          >T!g]c!VOdS!Q][[S\ba!Q]\QS`\W\U!bVS!!OQQc`OQg!]T!
8Wab`WQb!]T!7]Zc[PWO%!
;Z]`WRO%!<S]`UWO%!BOW\S%!
BO`gZO\R%!BOaaOQVcaSbba%!
BWaa]c`W%!CSe!=O[^aVW`S%!
                                !!
                                >\bS`\OZ!FSdS\cS!GS`dWQS!
                                F5>JG!HSO[!!!
                                Gb]^!/0).!E&/!!!
                                                            "
                                                            ""!'&#%$
                                                                        +</+!>8!+-478A5/.1/!C8?!2+@/!>2/!
                                                                        +?>28<3>C!>8!=317!+7.!</;?/=>!>2/!
                                                                        3708<6+>387"!(2/!08<6!A355!78>!,/!
                                                                        9<8-/==/.!+7.!</>?<7/.!>8!C8?!30!>2/!!
                                                                                                                       bVSaS!bW[S!SabW[ObSa!]`!acUUSabW]\a!T]`![OYW\U!
                                                                                                                       ;]`[!-.)/&H!aW[^ZS`%!eS!e]cZR!PS!VO^^g!b]!VSO`!
                                                                                                                       T`][!g]c'!M]c!QO\!e`WbS!b]3
CSe!?S`aSg%!CSe!M]`Y%!          @O\aOa!7Wbg%!BD!/-222!      ,8B!3=!?7-2/-4/."                                            >\bS`\OZ!FSdS\cS!GS`dWQS!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!!
C]`bV!7O`]ZW\O%!DVW]%!!         !                                                                                        HOf!;]`[a!O\R!EcPZWQObW]\a!8WdWaW]\!!!!!!!!!!!!!!!!!!!!!!!!
                                                              *5-2=2-<,39"!H`O\aQ`W^ba!]T!X]W\bZg!TWZSR!bOf!`Sbc`\a!     ****!7]\abWbcbW]\!5dS'!CK%!>F&/.+/!!!!
ES\\agZdO\WO%!FV]RS!            !
                                                            [Og!PS!Tc`\WaVSR!b]!SWbVS`!a^]caS'!D\Zg!]\S!                 KOaVW\Ub]\%!87!+)++-
>aZO\R%!G]cbV!7O`]ZW\O%!        !
                                                            aWU\Obc`S!Wa!`S_cW`SR'!GWU\!;]`[!-.)/&H!SfOQbZg!Oa!
JS`[]\b%!JW`UW\WO%!KSab!!       1*/&+2+&/*)+                                                                            8]!\]b!aS\R!bVS!T]`[!b]!bVWa!ORR`Saa'!>\abSOR%!aSS!
                                                            g]c`!\O[S!O^^SO`SR!]\!bVS!]`WUW\OZ!`Sbc`\'!>T!g]c!
JW`UW\WO!                                                   QVO\USR!g]c`!\O[S%!OZa]!aWU\!g]c`!Qc``S\b!\O[S'!           )2/</!>8!035/!]\!bVWa!^OUS'
               Case 8-18-72034-las               Doc 16         Filed 05/17/18             Entered 05/17/18 16:04:02




   Borrower’s Monthly Expenses
   Name ____________________________ Loan No. ___________________ Date _______________
   Home _________________ Cell ____________________ Best Time to Contact ________________
   E-Mail _____________________________________________
   E-Mail address may be used to provide you with documentation throughout the modification process.
   Description                                                           Monthly                 Balance       # of months
                                                                         Payment                 Due           behind
                            1st Mortgage
   Housing Loans
                            2nd Mortgage

                            Property Taxes
   Housing Expense          Homeowners Insurance
                            HOA Fees

                            #1
                            #2
   Other Loans
                            Car 1
                            Car 2

                            #1
                            #2
   Credit Cards
                            #3
                            #4

                            Gas/Electricity
                            Water/Sewer
   Utilities
                            Cable TV
                            Telephone/Cell

                            Health Insurance (if you pay)
                            Life Insurance (if you pay)
   Medical Expenses         Doctor/Dentist Bills
                            Prescriptions
                            Hospital Bills

                            Gasoline
                            Auto Insurance
   Car Expenses
                            Parking
                            Maintenance

                            Family at Home
   Food                     School Lunches
                            Work Lunches

                            New Clothes/Shoes
   Clothing
                            Dry Cleaning

                            Movies/Dining Out
   Entertainment            Vacations
                            Spending Money

                            Church
   Other                    Clubs or Union Dues
                            Sports/Hobbies


   Other
   (Please List)
                                                           Total


Borrower Signature: ____________________________________________                                           Dated: ____________

Co-Borrower Signature: _________________________________________                                           Dated: ____________
                   Case 8-18-72034-las              Doc 16        Filed 05/17/18            Entered 05/17/18 16:04:02

 UNIFORM BORROWER ASSISTANCE FORM

 If you are experiencing a temporary or long-term hardship and need help, you must complete and submit this form along
 with other required documentation to be considered for available solutions. On this page, you must disclose information
 about (1) you and your intentions to either keep or transition out of your home; (2) the property’s status; (3) bankruptcy;
 and (4) your credit counseling agency.
 On Page 2, you must disclose information about all of your income, expenses and assets. Page 2 also lists the required
 income documentation that you must submit in support of your request for assistance. Then on Page 3, you must
 complete the Hardship Affidavit in which you disclose the nature of your hardship. The Hardship Affidavit informs you of
 the required documentation that you must submit in support of your hardship claim.
 NOTICE: In addition, when you sign and date this form, you will make important certifications, representations and
 agreements, including certifying that all of the information in this Borrower Assistance Form is accurate and truthful
 and any identified hardship has contributed to your submission of this request for mortgage relief.
 REMINDER: The Borrower Response Package you need to return consists of: (1) this completed, signed and dated
 Borrower Assistance Form; (2) completed and signed IRS Form 4506T-EZ (4506T for self-employed borrowers or
 borrowers with rental income); (3) required income documentation; and (4) required hardship documentation.

 Loan Number ͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺ (usually found on your monthly mortgage statement)
 Servicer’s Nameͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺͺ
 I want to:                        Keep the Property              Vacate the Property            Sell the Property                Undecided

 The property is currently:        My Primary Residence           A Second Home                  An Investment Property

 The property is currently:        Owner Occupied                 Renter Occupied                Vacant

                                  BORROWER                                                             CO-BORROWER
 BORROWER’S NAME                                                                 CO-BORROWER’S NAME

 SOCIAL SECURITY NUMBER                    DATE OF BIRTH                         SOCIAL SECURITY NUMBER         DATE OF BIRTH


 HOME PHONE NUMBER WITH AREA CODE                                                HOME PHONE NUMBER WITH AREA CODE

 CELL OR WORK NUMBER WITH AREA CODE                                              CELL OR WORK NUMBER WITH AREA CODE


 MAILING ADDRESS


 PROPERTY ADDRESS (IF SAME AS MAILING ADDRESS, JUST WRITE SAME)                              EMAIL ADDRESS


 Is the property listed for sale?       Yes       No                             Have you contacted a credit counseling agency for help?
 If yes, what was the listing date? ___________                                       Yes              No
 If property has been listed for sale, have you received an offer on the         If yes, please complete the counselor contact information below:
 property?                              Yes     No                               Counselor’s Name: ___________________________________
 Date of offer:     ___________ Amount of Offer: $ _______________               Agency’s Name:       ___________________________________
 Agent’s Name: ____________________________________________
                                                                                 Counselor’s Phone Number: ____________________________
 Agent’s Phone Number:
 For Sale by Owner?                     Yes       No                             Counselor’s Email Address: ____________________________
 Do you have condominium or homeowner association (HOA) fees?            Yes        No
 Total monthly amount: $                               Name and address that fees are paid to:

 Have you filed for bankruptcy?     Yes       No       If yes:          Chapter 7            Chapter 11          Chapter 12           Chapter 13
 If yes, what is the filing Date: __________ Has your bankruptcy been discharged?     Yes         No      Bankruptcy case number: ______________

 Is any Borrower an active duty service member?                                                                                 Yes          No
 Has any Borrower been deployed away from his/her primary residence or received a Permanent Change of Station order?            Yes          No
 Is any Borrower the surviving spouse of a deceased service member who was on active duty at the time of death?                 Yes          No


Fannie Mae/Freddie Mac Form 710                                    Page 1 of 4                                                              June 2014
                       Case 8-18-72034-las                 Doc 16           Filed 05/17/18            Entered 05/17/18 16:04:02

UNIFORM BORROWER ASSISTANCE FORM
           Monthly Household Income                     Monthly Household Expenses and Debt Household Assets (associated with the
                                                                    Payments                property and/or borrower(s)excluding
                                                                                                      retirement funds)
Gross wages                             $              First Mortgage Payment                    $         Checking Account(s)                   $
Overtime                                $              Second Mortgage Payment                   $         Checking Account(s)                   $
Child Support / Alimony*                $              Homeowner’s Insurance                     $         Savings / Money Market                $
Non-taxable social security/SSDI        $              Property Taxes                            $         CDs                                   $
Taxable SS benefits or other monthly    $              Credit Cards / Installment Loan(s) (total $         Stocks / Bonds                        $
income from annuities or retirement                    minimum payment per month)
plans
Tips, commissions, bonus and self-      $              Alimony, child support payments           $         Other Cash on Hand                    $
employed income
Rents Received                          $              Car Lease Payments                        $         Other Real Estate (estimated value)   $
Unemployment Income                     $              HOA/Condo Fees/Property Maintenance $               Other                                 $
Food Stamps/Welfare                     $              Mortgage Payments on other properties $                                                   $
Other                                   $              Other                                     $                                               $
Total (Gross income)                    $0             Total Household Expenses and Debt         $0        Total Assets                          $0
                                                       Payments
Any other liens (mortgage liens, mechanics liens, tax liens, etc.)
Lien Holder’s Name                          Balance and Interest Rate               Loan Number                             Lien Holder’s Phone Number




                                                              Required Income Documentation
        Do you earn a salary or hourly wage?                       Are you self-employed?
        For each borrower who is a salaried employee or             For each borrower who receives self-employed income, include a complete, signed
        paid by the hour, include paystub(s) reflecting the        individual federal income tax return and, as applicable, the business tax return; AND
        most recent 30 days’ or four weeks' earnings and           either the most recent signed and dated quarterly or year-to-date profit/loss statement
        documentation reflecting year-to-date earnings, if         that reflects activity for the most recent three months; OR copies of bank statements for
        not reported on the paystubs (e.g. signed letter or        the business account for the last two months evidencing continuation of business
        printout from employer).                                   activity.
        Do you have any additional sources of income? Provide for each borrower as applicable:
         “Other Earned Income” such as bonuses, commissions, housing allowance, tips, or overtime:
              Reliable third-party documentation describing the amount and nature of the income (e.g., paystub, employment contract or printouts
              documenting tip income).
          Social Security, disability or death benefits, pension, public assistance, or adoption assistance:
              Documentation showing the amount and frequency of the benefits, such as letters, exhibits, disability policy or benefits statement from the
              provider, and
              Documentation showing the receipt of payment, such as copies of the two most recent bank statements showing deposit amounts.
          Rental income:
              Copy of the most recent filed federal tax return with all schedules, including Schedule E—Supplement Income and Loss. Rental income for
              qualifying purposes will be 75% of the gross rent you reported reduced by the monthly debt service on the property, if applicable; or
              If rental income is not reported on Schedule E – Supplemental Income and Loss, provide a copy of the current lease agreement with either
              bank statements or cancelled rent checks demonstrating receipt of rent.
          Investment income:
              Copies of the two most recent investment statements or bank statements supporting receipt of this income.
          Alimony, child support, or separation maintenance payments as qualifying income:*
              Copy of divorce decree, separation agreement, or other written legal agreement filed with a court, or court decree that states the amount
              of the alimony, child support, or separation maintenance payments and the period of time over which the payments will be received, and
               Copies of your two most recent bank statements or other third-party documents showing receipt of payment.

 *Notice: Alimony, child support, or separate maintenance income need not be revealed if you do not choose to have it considered for repaying
 this loan.




Fannie Mae/Freddie Mac Form 710                                                    Page 2 of 4                                                        June 2014
                 Case 8-18-72034-las            Doc 16      Filed 05/17/18        Entered 05/17/18 16:04:02
 UNIFORM BORROWER ASSISTANCE FORM
                                                       HARDSHIP AFFIDAVIT
I am requesting review of my current financial situation to determine whether I qualify for temporary or permanent mortgage loan relief
options.        Date Hardship Began is:
I believe that my situation is:
    Short-term (under 6 months)        Medium-term (6 – 12 months)         Long-term or Permanent Hardship (greater than 12 months)
I am having difficulty making my monthly payment because of reason set forth below:
(Please check the primary reason and submit required documentation demonstrating your primary hardship)
If Your Hardship is:                            Then the Required Hardship Documentation is:
     Unemployment                                     No hardship documentation required
     Reduction in Income: a hardship that             No hardship documentation required
     has caused a decrease in your income
     due to circumstances outside your
     control (e.g., elimination of overtime,
     reduction in regular working hours, a
     reduction in base pay)
     Increase in Housing Expenses: a                  No hardship documentation required
     hardship that has caused an increase in
     your housing expenses due to
     circumstances outside your control
     Divorce or legal separation; Separation          Divorce decree signed by the court; OR
     of Borrowers unrelated by marriage,              Separation agreement signed by the court; OR
     civil union or similar domestic                  Current credit report evidencing divorce, separation, or non-occupying
     partnership under applicable law                 borrower has a different address; OR
                                                      Recorded quitclaim deed evidencing that the non-occupying Borrower or co-
                                                      Borrower has relinquished all rights to the property
     Death of a borrower or death of either           Death certificate; OR
     the primary or secondary wage earner             Obituary or newspaper article reporting the death
     in the household
     Long-term or permanent disability;             Proof of monthly insurance benefits or government assistance (if applicable); OR
     Serious illness of a borrower/co-              Written statement or other documentation verifying disability or illness; OR
     borrower or dependent family member            Doctor’s certificate of illness or disability; OR
                                                    Medical bills
                                              None of the above shall require providing detailed medical information.
     Disaster (natural or man-made)                 Insurance claim; OR
     adversely impacting the property or            Federal Emergency Management Agency grant or Small Business Administration
     Borrower’s place of employment                 loan; OR
                                                    Borrower or Employer property located in a federally declared disaster area
     Distant employment transfer / Relocation For active duty service members: Notice of Permanent Change of Station (PCS) or
                                              actual PCS orders.
                                              For employment transfers/new employment:
                                                    Copy of signed offer letter or notice from employer showing transfer to a new
                                                    employment location; OR
                                                    Paystub from new employer
                                                In addition to the above, documentation that reflects the amount of any relocation
                                                assistance provided, if applicable (not required for those with PCS orders).
     Business Failure                                 Tax return from the previous year (including all schedules) AND
                                                      Proof of business failure supported by one of the following:
                                                            Bankruptcy filing for the business; OR
                                                            Two months recent bank statements for the business account evidencing
                                                            cessation of business activity; OR
                                                            Most recent signed and dated quarterly or year-to-date profit and loss
                                                            statement
     Other: a hardship that is not covered            Written explanation describing the details of the hardship and relevant
     above                                            documentation



Fannie Mae/Freddie Mac Form 710                                     Page 3 of 4                                                June 2014
                 Case 8-18-72034-las            Doc 16      Filed 05/17/18          Entered 05/17/18 16:04:02

     Borrower/Co-Borrower Acknowledgement and Agreement
     I certify, acknowledge, and agree to the following:
          1. All of the information in this Borrower Assistance Form is truthful and the hardship that I have identified
               contributed to my need for mortgage relief.
          2. The accuracy of my statements may be reviewed by the Servicer, owner or guarantor of my mortgage, their
               agent(s), or an authorized third party*, and I may be required to provide additional supporting documentation.
               I will provide all requested documents and will respond timely to all Servicer, or authorized third party*,
               communications.
          3. Knowingly submitting false information may violate Federal and other applicable law.
          4. If I have intentionally defaulted on my existing mortgage, engaged in fraud or misrepresented any fact(s) in
               connection with this request for mortgage relief or if I do not provide all required documentation, the Servicer
               may cancel any mortgage relief granted and may pursue foreclosure on my home and/or pursue any available
               legal remedies.
          5. The Servicer is not obligated to offer me assistance based solely on the representations in this document or
               other documentation submitted in connection with my request.
          6. I may be eligible for a trial period plan, repayment plan, or forbearance plan. If I am eligible for one of these
               plans, I agree that:
                    a. All the terms of this Acknowledgment and Agreement are incorporated into such plan by reference as
                         if set forth in such plan in full.
                    b. My first timely payment under the plan will serve as acceptance of the terms set forth in the notice of
                         the plan sent by the Servicer.
                    c. The Servicer’s acceptance of any payments under the plan will not be a waiver of any acceleration of
                         my loan or foreclosure action that has occurred and will not cure my default unless such payments are
                         sufficient to completely cure my entire default under my loan.
                    d. Payments due under a trial period plan for a modification will contain escrow amounts. If I was not
                         previously required to pay escrow amounts, and my trial period plan contains escrow amounts, I agree
                         to the establishment of an escrow account and agree that any prior waiver is revoked. Payments due
                         under a repayment plan or forbearance plan may or may not contain escrow amounts. If I was not
                         previously required to pay escrow amounts and my repayment plan or forbearance plan contains
                         escrow amounts, I agree to the establishment of an escrow account and agree that any prior escrow
                         waiver is revoked.
          7. A condemnation notice has not been issued for the property.
          8. The Servicer or authorized third party* will obtain a current credit report on all borrowers obligated on the
               Note.
          9. The Servicer or authorized third party* will collect and record personal information that I submit in this
               Borrower Response Package and during the evaluation process. This personal information may include, but is
               not limited to: (a) my name, address, telephone number, (b) my social security number, (c) my credit score, (d)
               my income, and (e) my payment history and information about my account balances and activity. I understand
               and consent to the Servicer or authorized third party*, as well as any investor or guarantor (such as Fannie
               Mae or Freddie Mac), disclosing my personal information and the terms of any relief or foreclosure alternative
               that I receive to the following:
                    a. Any investor, insurer, guarantor, or servicer that owns, insures, guarantees, or services my first lien or
                         subordinate lien (if applicable) mortgage loan(s) or any companies that perform support services to
                         them; and
                    b. The U.S. Department of Treasury, Fannie Mae and Freddie Mac, in conjunction with their
                         responsibilities under the Making Home Affordable program, or any companies that perform support
                         services to them.
          10. I consent to being contacted concerning this request for mortgage assistance at any telephone number,
               including mobile telephone number, or email address I have provided to the Lender/Servicer/ or authorized
               third party*. By checking this box, I also consent to being contacted by text messaging.

              _________________________________ __________ ___________________________ __________
              Borrower Signature                Date       Co-Borrower Signature       Date

     *An authorized third party may include, but is not limited to, a counseling agency, Housing Finance Agency (HFA) or
      other similar entity that is assisting me in obtaining a foreclosure prevention alternative.

Fannie Mae/Freddie Mac Form 710                                       Page 4 of 4                                            June 2014
